         Case 2:19-cv-00754-MPK Document 27 Filed 08/29/19 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF PENNSYLVANIA


 CAMBRIDGE RETIREMENT SYSTEM,
 on behalf of itself and all others similarly
 situated,
                                                         2:19-cv-00754-MPK
                              Plaintiff,

               v.                                        NOTICE OF WITHDRAWAL OF
                                                         MOTION OF IRON WORKERS
 EQT CORPORATION, STEVEN T.                              LOCAL 580 JOINT FUNDS FOR
 SCHLOTTERBECK, ROBERT J. MCNALLY,                       APPOINTMENT AS LEAD
 DAVID L. PORGES, JIMMI SUE SMITH,                       PLAINTIFF AND APPROVAL OF
 JAMES E. ROHR, VICKY A. BAILEY, PHILIP                  SELECTION OF COUNSEL
 G. BEHRMAN, KENNETH M. BURKE, A.
 BRAY CARY, JR., MARGARET K. DORMAN,
 STEPHEN A. THORINGTON, LEE T. TODD,
 JR., CHRISTINE J. TORETTI, DANIEL J. RICE
 IV, and ROBERT F. VAGT,

                              Defendants.




TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD:

       On August 26, 2019, Iron Workers Local 580 Joint Funds (“Iron Workers”) filed a motion,

pursuant to Section 21D(a)(3) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3), as

amended by the Private Securities Litigation Reform Act of 1995 (“PSLRA”), for the entry of an
Order: (i) appointing Iron Workers as Lead Plaintiff on behalf of all persons and entities that

purchased or otherwise acquired the publicly traded securities of EQT Corporation between June

19, 2017, and October 24, 2018, both dates inclusive; and (ii) approving Lead Plaintiff’s selection

of Pomerantz, LLP, as Lead Counsel and The Sweet Law Firm, PC, as Liaison Counsel for the

Class. Dkt. No. 17.

       Having reviewed the competing motions before the Court, Iron Workers does not appear

to have the largest financial interest in this litigation within the meaning of the PSLRA.

Accordingly, Iron Workers hereby withdraws its motion.
         Case 2:19-cv-00754-MPK Document 27 Filed 08/29/19 Page 2 of 3




       This notice of withdrawal shall have no impact on Iron Workers’ membership in the

proposed class or its right to share in any recovery obtained for the benefit of class members.


Dated: August 29, 2019
                                                     Respectfully submitted,

                                                     THE SWEET LAW FIRM, P.C.

                                                     By: /s/ Benjamin J. Sweet
                                                     Benjamin J. Sweet, Esq.
                                                     1145 Bower Hill Road, Suite 104
                                                     Pittsburgh, Pennsylvania 15243
                                                     Telephone: 412-857-5350
                                                     ben@sweetlawpc.com

                                                     Liaison Counsel for Iron Workers Local 580
                                                     Joint Funds




                                                 2
         Case 2:19-cv-00754-MPK Document 27 Filed 08/29/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I certify that on the 29th day of August, 2019, the foregoing document was electronically

filed through the Court’s CM/ECF system, which will send notification of such filing to all

counsel of record.



                                              /s/ Benjamin J. Sweet
                                             Benjamin J .Sweet, Esq.
